                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              3:13-CR-00333-RJC-DCK
USA                                              )
                                                 )
   v.                                            )                  ORDER
                                                 )
NASCHANCY JOHNNY COLBERT                         )
                                                 )

        THIS MATTER is before the Court upon the government’s Motion for Revocation of

Magistrate’s Release Order. (Doc. No. 23).

        This Court’s standing Order relating to the duties of magistrate judges provides that any

release order shall be stayed pending disposition by the district judge. (No. 3:05-mc-268, Doc.

No. 1). However, the magistrate judge’s oral Order stayed the decision for a limited amount of

time and this Court has not completed its review of the government’s motion.

        IT IS, THEREFORE, ORDERED that the magistrate judge’s release order, (Doc. No.

21), is STAYED and the defendant is committed to the custody of the Attorney General pending

determination of the government’s motion.

        IT IS FURTHER ORDERED that, to the extent practicable, the defendant shall be

confined in a corrections facility separate from persons awaiting or serving sentences or being

held in custody pending appeal. The defendant shall be afforded reasonable opportunity for

private consultation with counsel. On order of a court of the United States or on request of an

attorney for the government, the person in charge of the corrections facility in which the

defendant is confined shall deliver the defendant to a United States marshal for the purpose of an

appearance with a court proceeding.




    Case 3:13-cr-00333-RJC-DCK             Document 25       Filed 01/29/14      Page 1 of 2
       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                               Signed: 1/28/2014




                                                 2

    Case 3:13-cr-00333-RJC-DCK             Document 25             Filed 01/29/14   Page 2 of 2
